     Case 2:16-cv-00166-FFM Document 95 Filed 09/24/18 Page 1 of 2 Page ID #:1624



 1
     JONATHAN W. BROWN, ESQ. (State Bar No. 223901)
 2   LIPSITZ GREEN SCIME CAMBRIA LLP
     42 Delaware Avenue, Suite 120
 3
     Buffalo, New York 14202-3924
 4   (716) 849-1333
 5
     Facsimile No.: (716) 849-1315
     jbrown@lglaw.com
 6

 7   MARK S. HOFFMAN, ESQ. (State Bar No. 108400)
     MARK S. HOFFMAN, A PROFESSIONAL CORPORATION
 8
     11845 W. Olympic Blvd., Suite 1000
 9   Los Angeles, CA 90064
10
     Tel. (424) 248-6633
     Fax: (424) 248-6677
11   mark@markshoffmanlaw.com
12
     Attorneys for Plaintiff LFP IP, LLC
13

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15
                         UNITED STATES DISTRICT COURT

16
                       CENTRAL DISTRICT OF CALIFORNIA
17
                                     )
18   LFP IP, LLC,                    )   Case No.: 2:16-cv-00166-FFM
                                     )
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                                     )
                       Plaintiff,    )   The Hon. Frederick F. Mumm
20
                                     )
                                     )
21   vs.                             )   STIPULATION OF DISMISSAL
                                     )
22
                                     )
     LEE KEITH BRETT,                )
23
                                     )   Pursuant to FRCP Rule 41(a)(1)
                                     )
24
                                     )
                                     )
                                     )
25                     Defendant.    )
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                                     )
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                               STIPULATION OF DISMISSAL
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     Case 2:16-cv-00166-FFM Document 95 Filed 09/24/18 Page 2 of 2 Page ID #:1625



 1
           IT IS HEREBY STIPULATED by and between the parties to this action
 2
     through their designated counsel that the above-captioned action be and hereby is
 3
     dismissed with prejudice pursuant to FRCP 41(a)(1), with each party to bear their
 4
     own attorneys’ fees and costs.
 5

 6
     DATED: September 24, 2018
 7

 8                                      LIPSITZ GREEN SCIME CAMBRIA LLP
 9
                                                 /s/Jonathan W. Brown
10
                                         By: ___________________________
11                                               Jonathan W. Brown, Esq.
                                                 Attorneys for Plaintiff LFP IP, LLC
12

13                                       McDERMOTT WILL & EMERY LLP
14
                                                 /s/Jodi L. Benassi
15                                       By: ___________________________
16                                               Jodi L. Benassi, Esq.
                                                 Attorneys for Defendant
17
                                                 Lee Keith Brett
18

19
                              SIGNATURE ATTESTATION
20

21         Pursuant to Local Rule 5-4.3.4, I hereby attest that all other signatories
22
     listed, and on whose behalf the filing is submitted, concur in the filing’s content
23
     and have authorized the filing.
24

25                                               /s/Jonathan W. Brown
26
                                         By: ___________________________
                                                 Jonathan W. Brown, Esq.
27                                               Attorneys for Plaintiff LFP IP, LLC
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                                STIPULATION OF DISMISSAL
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